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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

FLAVA WORKS, INC.,                                               )
                                                                 )
                            Plaintiff,                           )        Case No. 17 C 1171
                                                                 )
         v.                                                      )
                                                                 )        Judge Robert W. Gettleman
MARQUES RONDALE GUNTER, d/b/a                                    )
myVidster.com, SALSAINDY, LLC, d/b/a                             )
myVidster.com,                                                   )
                                                                 )
                            Defendants.                          )

                                                       ORDER

         Plaintiff Flava Works, Inc. brought an eight count complaint against defendants Marques

Rondale Gunter and SalsaIndy, LLC, both doing business as myVidster.com (jointly as

“defendants”) alleging: direct copyright infringement (Count I); contributory copyright

infringement (Count II); vicarious copyright infringement (Count III); inducement of copyright

infringement (Count IV); breach of contract (Count V); trademark infringement and unfair

competition (Count VI); common law unfair competition (Count VII); and violation of the Illinois

Uniformed Deceptive Trade Practices Act (Count VIII). On January 30, 2018, the court

dismissed all of plaintiff’s claims except Count V for breach of contract. Flava Works v. Gunter,

2018 WL 620035 (N.D. Ill. Jan. 30, 2018).1 Despite repeatedly telling the court that it was going

to replead to address the deficiencies identified in the court’s earlier opinion, plaintiff failed to do

so, and defendants initiated discovery. Plaintiff did nothing, except to respond to defendants’




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  The allegations of the complaint as well as the history of litigation between the parties is explained in the court’s
earlier opinion and will not be repeated here.
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discovery requests, but only when compelled to do so by court order. Defendants have now

moved for summary judgment on the lone remaining count.

       Summary judgment is appropriate when the moving papers and affidavits show that there

is no genuine issue as to any material fact and the movant is entitled to judgment as a matter of law.

Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). To prevail on summary

judgment, a party can either point to undisputed facts supported by evidence in the record, or point

to an absence of evidence of an element essential to the other parties’ claim or affirmative defense.

Id. (“[T]he plain language of Rule 56(c) mandates the entry of summary judgment, after an

adequate time for discovery and upon motion, against a party who fails to make a showing

sufficient to establish the existence of an element essential to that party’s case, and on which that

party will bear the burden of proof at trial.”) In this situation there is “no genuine issue as to any

material fact,” because “a complete failure of proof concerning an essential element of the

nonmoving party’s case necessarily renders all other facts nonmaterial.” Id.

       Plaintiff’s complaint alleges that defendants have breached five separate paragraphs (1, 2,

4, 6, 7) of a March 15, 2015, settlement agreement between the parties. To survive a motion for

summary judgment on a breach of contract claim plaintiff must identify evidence in the record to

establish: (1) the existence of a valid and enforceable contract; (2) substantial performance by

plaintiff; (3) breach of the contract by defendant; and (4) resulting injury. Avila v. CitiMortgage,

Inc., 801 F.3d 777, 786 (7th Cir. 2015). Defendants argue that plaintiff has submitted no evidence

upon which a reasonable jury could conclude that defendants breached the agreement or, if it was

breached, that plaintiff has suffered a resulting injury. The court agrees.



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       Paragraph 1 of the Settlement Agreement provides that defendants were to provide an

application program interface (“API”) tool on its website that would allow plaintiff to see the

source of any infringing material and directly remove it. Plaintiff alleges that defendants

breached Paragraph 1 by failing to provide a tool that allowed plaintiff to “directly remove links”

because the links flagged by plaintiff were not removed until the following day. As defendants

point out, nothing in Paragraph 1 provides that the links would be removed instantaneously, or

even within a specified time frame. Nor has plaintiff provided any evidence that any links it

attempted to remove were not, in fact, removed. Consequently, plaintiff has no evidence to

support its claim of a breach of Paragraph 1.

       Paragraph 2 of the Settlement Agreement required defendants to adopt a policy in which, if

defendants were advised by plaintiff that a myVidster.com user is an “Original Poster” of a link to

an allegedly infringing video, defendants will send that user a note, and if defendants are advised

by plaintiff on three separate occasions that a user is an Original Poster, then defendants would

disable that user’s account. Plaintiff alleges that it has sent such notices to defendants, but

defendants have failed to disable the users’ accounts. Once again, plaintiff has supplied no

evidence that it sent such notices to defendants, or that defendants failed to so act.

       Paragraph 4 of the Settlement Agreement required myVidster.com to install a “do not post”

list within 30 days of the agreement directing myVidster.com users not to link to plaintiff’s videos.

Plaintiff claims defendants did not install the “do not post” list until three months after the

Settlement Agreement. Plaintiff has produced some screenshots of defendants’ website without

the list or without plaintiff’s name on the list, but none demonstrate when the list was created or

when plaintiff’s name was added.

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       Paragraph 6 of the Settlement Agreement required myVidster.com to place a “Flava Works

banner on the adult home page of the myVidster.com website in the top right corner of the page

under the `create your own video collection’ heading.” Plaintiff alleges that defendants waited

almost a year to place the banner, then reduced the size of the banner on its main page, and made

the banner on the adult page not visible to its “Pro Users.” Once again, plaintiff has failed to

produce any evidence to carry its burden. It has provided no screen shots of the home page to

show when the banner was or was not added, or even any correspondence showing that plaintiff

complained about defendants’ alleged failure. Nor is there any evidence of the size of the banner

either before or after the Settlement Agreement was signed. Again, plaintiff has failed to produce

any before or after screen shots or correspondence about the size. The same is true for plaintiff’s

claim about the banner not being visible to Pro Users.

       Finally, Paragraph 7 of the Settlement Agreement required defendants to use key words

provided by plaintiff to search for video titles and descriptions that match those key words and

display plaintiff’s banner below those videos. Plaintiff produced to defendants some screen shots

showing 193 videos with banners beneath them. Only 47 of the 193 include plaintiff’s key words

and of those, 41 had plaintiff’s banner. Defendants argues that the failure of 6 to have the banner

is due to primarily misspellings generated by users, rather than by a breach of the agreement by

defendant. Plaintiff has provided nothing to refute this argument.

       In its response brief and its response to defendants’ L.R. 56.3 statement of facts not in

dispute, plaintiff fails to cite to any documentary evidence to support its claims. It relies entirely

on an affidavit of its President, Philip Bleicher. That affidavit, however, is entirely conclusory

and simply repeats the allegations of the complaint, sometimes verbatim. Fed. R. Civ. P. 56(c)(4)

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provides that “[A]n affidavit or declaration used to support or oppose a motion must be made on

personal knowledge, set out facts that would be admissible in evidence, and show that the affiant

or declarant is competent to testify on the matters stated.” (Emphasis added). “Rule 56 demands

something more specific than the bald assertion of the general truth of a particular matter, rather it

requires affidavits that cite specific concrete facts establishing the existence of the truth of the

matters asserted.” Lucas v. Chicago Transit Authority, 367 F.3d 714, 726 (7th Cir. 2004).

        Plaintiff’s affidavit fails this requirement and is insufficient to defeat summary judgment.

As noted, it simply repeats the allegations of the complaint without providing any specific facts or

examples. To defeat summary judgment a nonmovant must go “beyond the pleadings and set

forth specific fact supporting its claim.” Fed. R. Civ. P. 56(c); Becker v. Tenebaum-Hill Assoc.,

Inc., 914 F.2d 107, 110 (7th Cir. 1990). Plaintiff has failed to provide any such evidence and the

record does not contain “sufficient evidence favoring [plaintiff] for a jury to return a verdict” in its

favor. Id. Consequently, defendants’ motion for summary judgment [Doc. 51] is granted.

                                          CONCLUSION

        For the reasons stated above, defendants’ motion for summary judgment [Doc. 51] is

granted.

ENTER:          August 15, 2019



                                                __________________________________________
                                                Robert W. Gettleman
                                                United States District Judge




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